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December 29, 2023

Hon. William G. Young

United States District Judge
United States Federal Courthouse
1 Courthouse Way

Boston, Massachusetts 02210

Dear Judge Young,

I have known Matthew Jordan Lindner from the day he was born, through love from his
Father and Mother. A family that is full of love for family, friends, and their Community.

Matthew has carried this love trait throughout his life. Matthew and his oldest Brother,
Clayton Michael Lindner, had a tight bond with each other. Wherever, you saw one the
other one was there. Clayton, who had cancer, died when Matthew was 5 years old.
Matthew not only carries the trait of love, but he demonstrates responsibility,
professionalism, dependability, and determination. Matthew has grown up into this world
of ours as a great man, son, brother, and a father.

My name is Frieda J. Pressler and I have lived in this Community, where Matthew grew
up in, my entire life. I am the Justice of the Peace of Kendall County Precinct 4. A Justice
of the Peace only handles Class C Misdemeanors. Matthew has had a few traffic offenses
through my Court. He has always been very professional in appearance and showed the
greatest respect for me. | always remember when Matthew would come to the Office he
would greet me with removal of his hat and a big hug. I am a close friend of the family,
but they know when they come before me, the friendship is put to the side, and that I will
continue business as a professional. Matthew would never sit in a chair but he would get
down on one knee before me. I would instruct Matthew to get up and sit in a chair but he
insisted he was fine. Matthew is very tall and he felt better being on his knee to be able to
make eye contact with me and not tower over me.

Matthew illustrates a gentle nature, with kindness and care for his family, friends, and his
peers. Matthew has demonstrated this kindness, caring, and love with his children and
other children. Matthew shows concern to any citizen, family, or friends. Matthew
presents himself to me and to others with the mannerism he was taught from his parents
and brothers. Matthew works hard beside his brothers and his father. Matthew with his
determination, his eagerness, and his willingness will conquer his goals and achieve his
accomplishments throughout his entire life.

/ Frieda J. Pressler
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